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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 18-cv-80086-MIDDLEBROOKS


   IN RE BITCONNECT SECURITIES LITIGATION
   ___________________________________________/

                                        NOTICE OF APPEAL

          Notice is given that Plaintiffs Albert Parks, Faramarz Shemirani, Maryann Marryshow,

   Mija Yoo, Nelson Arias, and Cory Struzan, individually and on behalf of all other persons similarly

   situated, appeal to the United States Court of Appeals for the Eleventh Circuit from the Order

   Dismissing Complaint and Closing Case entered on March 31, 2020 and all antecedent orders,

   including but not limited to the orders entered on January 9, 2020, December 20, 2019, November

   20, 2019, November 15, 2019, and August 23, 2019 in this action.



                                            /s/ Daniel A. Bushell
                                          Daniel A. Bushell
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                                          Fort Lauderdale, Florida 33309
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                                          Appellate Counsel for Plaintiffs/Appellants

                                   CERTIFICATE OF SERVICE

          I certify that on April 30, 2020, the foregoing document was filed via the Court’s ECF

   system, which will serve notice on all registered counsel of record and pro se parties.


                                           /s/ Daniel A. Bushell
                                          Daniel A. Bushell



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